4:18-cr-03027-RGK-CRZ      Doc # 85     Filed: 11/26/18   Page 1 of 1 - Page ID # 226




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                  Plaintiff,             )                 4:18CR3027
                                         )
            v.                           )
                                         )
KAYLA M. CROWE,                          )                   ORDER
                                         )
                  Defendant.             )
                                         )


      IT IS ORDERED that:

      (1)   My tentative findings (filing no. 82) are herewith corrected.

       (2) In paragraph 2d, the word “minor” is stricken and the word “minimal”
is inserted.

      (3)   I apologize for my error.

      DATED this 26th day of November, 2018.

                                        BY THE COURT:

                                        s/ Richard G. Kopf
                                        Senior United States District Judge
